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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                        Case No. 10-cr-135-PB

Chanlatte (Gary Woodward), et al.




                               O R D E R


     Defendant, Gary Woodward, has moved through counsel to

continue the trial scheduled for January 4, 2011 for a period of

90 days, citing the need for additional time to engage in plea

negotiations or prepare a defense.         The government and co-

defendants do not object to a continuance of the trial date.

     Accordingly, for the above reasons, the court will continue

the trial from January 4, 2011 to April 5, 2011.             In agreeing to

continue the trial, the court finds pursuant to 18 U.S.C.A. §

3161(h)(7)(A) that the ends of justice served in granting a

continuance outweigh the best interests of the public and the

defendants in a speedy trial.
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      The December 21, 2010 final pretrial conference is

continued to March 21, 2011 at 3:30 p.m.         No further

continuances.

      SO ORDERED.

                                  /s/Paul Barbadoro
                                  Paul Barbadoro
                                  United States District Judge

December 15, 2010

cc:   Theodore M. Lothstein, Esq.
      Glenn G. Geiger, Esq.
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      United States Probation
      United States Marshal
